Case 2:93)pv-08254-GAF @gNB Document:330 Filed 11/121 Page 1of 7 Page ID #:190

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ATTORNEYS AT LAW
BEVERLY HILLS

GTANNI VERSACE, S.p.A., a Foreign
Corporation, .

Plaintiff,

-VS-

MONIR M. AWADA, an_ Individual;
MOHAMED BEDIER , an Individual; ALI
CHAHINE, an Individual; GINNO
CHAHINE, an Individual; MOHAMAD N.
CHAHINE, an Individual; NADER
CHAHINE, an Individual; MOUSSA
DAANA, an ‘Individual: AKIL EL REDA, an
Individual: ALI KHALIL ELREDA, an
Individual: FIRAS MOHAMMAD FAKIH,
an Individual; ALI YOUSSEF FARHAT, an
Individual; HASSAN MOHAMAD
FARHAT, an Individual; MOHAMAD ALI
FARHAT, an Individual: YOUSSEF M.
FARHAT,. an Individual; ALI ADNAN
GHACHAM, an Individual; BASSAM
ADNAN GHACHAM, an Individual;
TAGRID ADNAN GHACHAM, an
Individual; ALI DAOUD GHACHAM, an
Individual; ‘ HUSSEIN DAOUD GHACHAM,
an Individual; MOHAMED GHACHAM, an
Individual; OSSAMA DAOUD GHACHAM,
an Individual; RAMONA GONZALEZ, an
Individual; MAHMOUD H. HARB, an
Individual: MAHA ASSAAD JOMAA, an
Individual; MOUSSA MATAR, an
Individual; HUSSEIN MOURAD, an
Individual; SAMIR MOURAD, an Individual:

DOC: ADNAN GHACHAMS Final Judgment & Perm. Injunction

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CENTRAL DISTRICT OF CALIFORNIA
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UNITED STATES DISTRICT COURT —
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION .

CASE NO.: CV 03-3254 SJO (RNBx)

FINAL JUDGMENT UPON
CONSENT; PERMANENT
INJUNCTION; AND [PROPOSED]
ORDER THEREON WITH RESPECT

-TO DEFENDANTS,

JAVINCCL, INC.

BASSAM ADNAN GHACHAM
ALI ADNAN GHACHAM
TAGRID ADNAN GHACHAM

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Complaint Filed: May 9, 2003
Trial Date: 11/16/04

 

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YAMEL MOURAD, an Individual; YOUNG
JIN PARK, an Individual; ABDEL NABI
SAAB, an Individual; ALEX SAAB, an
Individual; ALI HUSSEIN SAAB, an
Individual; ALI NAIM SAAB, an Individual;
ELSA SAAB, an Individual; HASSAN
SAAB, an Individual; HUSSEIN YOUSSEF
SAAB, an Individual; AHMAD M. SAAB, an
Individual; TASHIN SAAB, an Individual;
YOUSEF SAAB, an Individual; AHMED
KHALIL SALEH, an Individual; HUSSEIN
KHALIL SALEH, an _Individual;
MAHMOUD KHALIL SALEH, an
Individual; ABBAS SALEH SALEH, an
Individual; ALI SALEH  SALEH, an
Individual; HASSAN SALEH SALEH, an
Individual; HUSSEIN SALEH SALEH, an
Individual; NAJIBE SALEH SALEH, an
Individual, ABBAS MAHMOUD SALEH,
an Individual; ALI SLEIMAN SALEH, an
Individual; HUSSEIN ALI SALEH, an
Individual, MIRIAM S._ SALEH, an
Individual; MUSTAPHA ALI SALEH, an
Individual; AHMAD SALIM, an Individual;
TIKHLAS SALIM, an Individual; ANA
MARIA SANDOVAL, an Individual; JOSE
G. SANDOVAL, an Individual; ALI M.
TEHFYI, an Individual; KHALED TEHFE, an
Individual; NAZIH TEHFE, an Individual;
AMA: CASUALS, INC., a California
Corporation, AWADA BROS, INC., a
California Corporation; AWADA
BROTHERS, INC., a California Corporation;
THE BRAND NAME CONN CTION,
INC., a California Corporation; CENSO
UNICO, INC., a California Corporation,
DENIM PALACE, INC., a California
Corporation, GHACHAM, INC.,a California
Corporation, HIP HOP CONNECTIONS,
INC., a California Corporation; JAVINCCI,
LLC., a California Limited Liability
Corporation, LA BRAND NAME, INC., a
California Corporation; LIMITED
CLOTHING, INC., a California Corporation;
LOS HERMANOS, INC., a California
Corporation, MAS SPORTSWEAR, INC., a
California Corporation; MGM TRADING,
INC., a California Corporation; MIRAGE
CONNECTION, INC., a California
Corporation, NUEVA TIENDA, INC., a
California Corporation dba NUEVA TIENDA;
SAAB & SONS CLOTHING, INC., a
California Corporation; SAAB GROUP,
INC., a California Corporation; SPORT
JEANS, INC., a California Corporation;

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TRES HERMANOS INC., a California
Corporation; and UNESCO JEANS, INC.,, a
California Corporation aka "UNESCO,
INC.,and DOE10, unknown business entity,
Inclusive,

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Defendants. "

 

Plaintiff, GIANNI VERSACE, S.p.A., a Foreign Corporation ("VERSACE") and
Defendants BASSAM ADNAN GHACHAM, an individual, dba Jeans International and
Javincci, Inc., ALIADNAN GHACHAM, an individual, dba Jeans International, TAGRID
ADNAN GHACHAM, an individual, dba Jeans International and JAVINCCI, INC., a
California Corporation referred to collectively as the "ADNAN GHACHAM
DEFENDANTS, stipulate and consent to the following:

WHEREAS, the ADNAN GHACHAM DEFENDANTS, with reckless disregard
for VERSACE’s exclusive rights to and use of, adopted and began using trademarks in the
United States which infringe or otherwise violate VERSACER’s registered trademarks:
GIANNI VERSACE, VJC , VERSACE and the MEDUSA designs (the “VERSACE
trademarks”) as identified in VERSACE’s Complaints;

WHEREAS, ADNAN GHACHAM DEFENDANTS’ use of names and marks
which incorporate one or more of the VERSACE trademarks is likely to cause confusion
as to source or origin;

WHEREAS, based upon VERSACE’s good faith prior use of the VERSACE
trademarks, VERSACE has superior and exclusive rights in and to the VERSACE
trademarks in the United States and any confusingly similar names or marks; and

WHEREAS, this Court has jurisdiction over the parties to this action and over the
subject matter hereof pursuant to 15 USC 1121(a) and 28 USC 1331, 1338(a) and (b), and
28 USC 1367,

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BOC: ADNAN GHACHAMS Final Judgment & Perm Injunction

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IT IS ORDERED, ADJUDGED AND DECREED as follows:

1. Defendants, JAVINCCI, INC., BASSAM ADNAN GHACHAM, ALI ADNAN
GHACHAM and TAGRID ADNAN GHACHAM, their parents, subsidiaries, related
entities, divisions, officers, owners, shareholders, employees, affiliates, servants,
representatives, agents, predecessors, assigns and successors in interest of any kind, and all
persons, firms, entities, or corporations under their direction and control or in active concert
or participation with them, are immediately and permanently enjoined throughout the world

from directly or indirectly infringing, counterfeiting, or diluting the VERSACE trademarks

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or any marks similar thereto, as identified in Exhibit 1 to the Complaints and on Registry

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with the United States Patent & Trademark Office, in any manner, including generally, but

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not limited to manufacturing, importing, distributing, advertising, selling, and/or offering

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for sale any merchandise which infringes said trademarks and specifically from:

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(A) Imitating, copying or making unauthorized use of any or all of the

GIANNI VERSACE trademarks or trade dress;

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(B) Importing,, manufacturing, producing, possessing, distributing,

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circulating, advertising, promoting, displaying, selling, and/or offering for sale, any non-

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genuine product bearing any simulation, reproduction, counterfeit, copy, or colorable

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imitation or reproduces, or utilizes the likenesses of or which copy or are likely to cause

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consumer confusion with any of the VERSACE trademarks or trade dress;

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(C) Manufacturing, distributing, selling or offering for sale or in connection

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thereto any unauthorized promotional materials, labels, packaging or containers which

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picture, reproduce or utilize the likenesses of, or which are likely to cause consumer

confusion with any of the VERSACE trademarks;

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(D) Using any false designation of origin, false description, including words,

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symbols or any trademark, trade name, trade dress, logo or design tending to falsely

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describe or represent, or is likely to confuse, mislead, or deceive purchasers, Defendants’

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customers, or members of the public, that unauthorized merchandise manufactured,

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distributed, advertised, sold’ and/or offered for sale by Defendants originate from

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VERSACE, or that said merchandise has been sponsored, authorized, endorsed, approved,
licensed by, associated, or is in any way connected or affiliated with VERSACE; i

(E) Transferring, consigning, selling, shipping or otherwise moving anyition-
genuine VERSACE goods, packaging or other materials in the Defendants’ possession,
custody or control bearing a design, or mark substantially identical to or confusingly similar
with or any or all of the GIANNI VERSACE trademarks or trade dress;

(F) Diluting and infringing the VERSACE trademarks and damaging
VERSACE 's goodwill, reputation and businesses;

(G) Otherwise unfairly competing with GIANNI VERSACE, S.p.A., or its
subsidiaries or affiliated companies.

(H) Passing off or selling any products which are not entirely genuine VERSACE
products as and for VERSACE products, including products utilizing VERSACE labels, packaging
or containers that have been in any way modified without the written permission of VERSACE;

(I) Applying to the United States Patent & Trademark Office for the registration of
any trademark that is a colorable imitation of any or all of the GIANNI VERSACE trademarks, or
confusingly similar mark, trade name, trade dress, logos or design;

(J) Instructing, assisting, inducing, aiding or abetting any other person or
business entity in engaging in or performing any of the activities referred to above; and

(K) Using the VERSACE trademarks or any such reproduction, counterfeit,
copy, or colorable imitation in connection with the manufacture, importation, distribution,
advertising, publicity, sale and/or offering for sale, of any other merchandise not referred
to above.

2. The jurisdiction of this Court is retained for the purpose of making any
further orders necessary or proper for the construction or modification of, the Settlement
Agreement, this Judgment, the enforcement thereof and the punishment of any violations
thereof.

3. This Judgment shall be deemed to have been served upon Defendants at the

time of its execution by the Court.

DOC ADNAN GHACHAMS Final Judgment & Perm. Injunction
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4, Any party shall have the right to seek sanctions for contempt, compensatory
damages, injunctive relief, attorneys’ fees, costs, and such other relief deemed proper in the
event of a violation or failure to comply with any of the provisions hereof. The prevailing
party in any such proceeding shall be entitled to recover its attorneys’ fees and costs.”

5, This cause of action as between VERSACE and the ADNAN GHACHAM
DEFENDANTS is hereby dismissed with prejudice, subject to the terms of the Settlement
Agreement between the parties. This Consent Judgment shall be conclusive for purposes
of collateral estoppel regarding all issues that have been or could have been brought on the
same operative facts.

6. The parties respective attorney’s fees and costs incurred in connection with this
action shall be borne as per the agreement of the individual parties in their Settlement
Agreement.

7. . This Court will retain continuing jurisdiction over this cause to enforce the
terms of this Consent Judgment and the Settlement Agreement between the parties.

8. All counterfeit and infringing VERSACE products seized by VERSACE from
the ADNAN GHACHAM DEFENDANTS shall be destroyed under the direction of
VERSACE.

9, All counterfeit and infringing VERSACE products currently in the
possession, custody or control of the ADNAN GHACHAM DEFENDANTS shall be
surrendered to VERSACE and thereafter shall be destroyed under the direction of
VERSACE.

IT ISSO ORDERED.

DATED: (- {2-03 , 2003.

 

UNITED STATES DISTRICT JUDGE

BOC ADNAN GHACHAMS Final Judgment & Perm Injunction
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APPROVED AS TO FORM AND CONTENT. ne

DATED: September Lk, 2002 RICHLAND & ASSOCIATES

 

ELIPA R. RICHLAND
ATTORNEYS FOR PLAINTIFF,
GIANNI VERSACE, S.p.A.

DATED: September 29 , 2002 GERAGOS & GERAGOS

   

JAVINCCI, INC,
BASSAM ADNAN GHACHAM,
ALI ADNAN GHACHAM
TAGRID GHACHAM

DOC ADNAN GHACHAMS Final Judgment & Perm Injunction
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